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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

CT LAND & CATTLE CO., L.L.C.,  §
A TEXAS LIMITED LIABILITY      §
COMPANY,                       §
                               §
     Plaintiff,                §
                               §
v.                             §
                               § CIVIL ACTION NO. _______________
NATIONWIDE AGRIBUSINESS        §
INSURANCE COMPANY, A FOREIGN   §
CORPORATION, AND THE TRAVELERS §
INDEMNITY COMPANY OF AMERICA,  §
A FOREIGN CORPORATION,         §
                               §
     Defendants.               §


                          INDEX OF STATE COURT MATERIALS

          Date Filed
No.       or Entered   Document
A-1        4/10/2017   Plaintiff’s Original Petition

A-2        4/10/2017   Civil Case Information Sheet

A-3        4/11/2017   Citation Issued as to The Travelers Indemnity Company of America

A-4        4/11/2017   Citation Issued as to Nationwide Agribusiness Insurance Company

A-5         5/1/2017   Defendant Nationwide Agribusiness Insurance Company’s Original Answer
                       to Plaintiff’s Original Petition

A-6          5/26/17   Defendant The Travelers Indemnity Company of America’s Answer and
                       Request for Disclosure
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